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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


DONALD BERDEAUX and CHRISTINE
GRABLIS, individually and on behalf of all
others similarly situated,

                                Plaintiff,           C.A. No 1:19-cv-04074-VEC
 v.
                                                     Hon. Valerie E. Caproni
 ONECOIN LTD.; RUJA IGNATOVA;
 SEBASTIAN GREENWOOD; MARK                           CLASS ACTION
 SCOTT; DAVID PIKE; NICOLE J.
 HUESMANN; GILBERT ARMENTA; and
 THE BANK OF NEW YORK MELLON,

                                Defendants.



  PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Lead Plaintiff Donald Berdeaux and Plaintiff Christine Grablis (together, “Plaintiffs”)

respectfully move for voluntary dismissal without prejudice of the instant action pursuant to Rule

41(a)(2) of the Federal Rules of Civil Procedure.

       1.      Plaintiffs initiated the above-titled action (the “Action”) by filing their opening

Complaint on May 7, 2019. [ECF No. 1].

       2.      On September 25, 2020, Plaintiffs filed their Second Amended Complaint. [ECF

No. 25, the “SAC”].

       3.      On September 20, 2021, this Court issued an order dismissing all claims against

Defendants Mark Scott, David Pike, Nicole Huesmann, and The Bank of New York Mellon. [ECF

No. 216, the “Order”].

       4.      Following dismissal of all claims against Defendants Scott, Pike, Huesmann, and

Bank of New York Mellon; the only remaining defendants are Defendants OneCoin Ltd.; Ruja


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Ignatova, Sebastian Greenwood, and Gilbert Armenta -- none of whom have materially

participated in this action1, and all of whom have been defaulted. [ECF Nos. 199, 200, 201, and

209].

        5.       Upon information and belief, Defendant OneCoin Ltd. is a defunct entity with no

attachable assets; Defendant Ignatova’s whereabouts are presently unknown; and Defendants

Greenwood and Armenta are both in federal custody awaiting trial and anticipated lengthy prison

sentences for their involvement in OneCoin’s operations and promotion.

        6.       Plaintiffs have concluded that the dismissal of Mark Scott, David Pike, Nicole

Huesmann, and Bank of New York Mellon Corporation from this Action has rendered this

litigation untenable and no longer a productive use of judicial resources, due largely to the fact

that the remaining defendants all appear to be essentially judgment proof, in that it will be

extremely difficult or impossible to successfully enforce a judgment against any of the remaining

defendants due to their imprisonment and/or lack of recoverable assets. Accordingly, Plaintiffs

respectfully move for an order, in the form attached herewith, voluntarily dismissing without

prejudice the instant action pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure.

        7.       Plaintiffs represent that no compensation in any form has passed directly or

indirectly from anyone to Plaintiffs or their attorneys in relation to this request for dismissal, and

no promise to give any such compensation has been made.

        8.       As no class has yet been certified, no payment or monetary inducement has been

offered or promised to Plaintiffs or Plaintiffs’ counsel, and voluntary dismissal without prejudice

at this stage does not bind any putative/absent class claimant other than the named Plaintiffs,



1
  Although Defendant Armenta appeared through counsel to request an extension of time to respond to the claims
against him [ECF No. 149] -- which the Court granted [ECF No. 150] -- the only filing his counsel made was a Motion
to Withdraw from representing Mr. Armenta [ECF Nos. 175, 176]. No other filings were made by or for Mr. Armenta.

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Plaintiffs believe it is advisable and is in the best interest of judicial efficiency to voluntarily

dismiss the Action without prejudice at this time.

       WHEREFORE, Lead Plaintiff Donald Berdeaux and Plaintiff Christine Grablis

respectfully move for voluntary dismissal without prejudice of the instant action pursuant to Rule

41(a)(2) of the Federal Rules of Civil Procedure, with each party is to bear its own costs, expenses,

and attorneys’ fees.



Dated: October 7, 2021                                Respectfully submitted,

                                                      LEVI & KORSINSKY, LLP

                                                       s/ Donald J. Enright
                                                      LEVI & KORSINSKY, LLP
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                                                   Attorneys for Lead Plaintiff Donald
                                                   Berdeaux and Christine Grablis and Co-
                                                   Lead Counsel for the Class


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing was electronically filed with the Clerk
of Court of this 7th day of October 2021 by using the CM/ECF system and that a true and correct
copy will be served via electronic mail to: All Parties and Counsel of Record.

                                             /s/ Donald J. Enright

                                           DONALD J. ENRIGHT




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